Case 2:15-cr-20394-AJT-RSW ECF No. 110, PageID.406 Filed 03/22/16 Page 1 of 10




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                              Case No. 15-20394-7
             Plaintiff,
                                              SENIOR U.S. DISTRICT JUDGE
v.                                            ARTHUR J. TARNOW

MICHAEL WILMER,                               U.S. MAGISTRATE JUDGE
                                              R. STEVEN WHALEN
             Defendant.

                                     /


     ORDER DENYING DEFENDANT’S MOTION TO SUPPRESS STATEMENTS [92];
         DENYING DEFENDANT’S MOTION TO SUPPRESS EVIDENCE [91]

       On December 14, 2015 Defendant filed a Motion to Suppress Statements

[92] and a Motion to Suppress Evidence [91]. The Government responded on

January 12, 2016 [104]. A Motion hearing was held on January 20, 2016 and the

Government filed a supplemental brief on January 27, 2016 [107]. For the reasons

stated below, Defendant’s Motions to Suppress [91; 92] are DENIED.

     1. RELEVANT FACTS

       Defendant is indicted for Conspiracy to Possess with Intent to Distribute

Controlled Substances. Defendant’s Motion to Suppress Evidence [91] concerns

the a request to suppress the drug evidence seized from Defendant’s vehicle
                                         1
Case 2:15-cr-20394-AJT-RSW ECF No. 110, PageID.407 Filed 03/22/16 Page 2 of 10




following a Drug Enforcement Agency (DEA) directed traffic stop on June 5,

2015.

        A DEA investigation identified Lanel Loyd as a significant drug distributor.

To further their investigation of Mr. Loyd, the DEA obtained orders from May

through June 2015 that permitted them to intercept his communications. In early

May, the DEA intercepted a series of text message between Loyd and the user of

Wilmer’s phone concerning what the DEA agents considered to be discussion of a

drug transaction. [Government Ex. 2, Session 412] (Text message to Wilmer’s

phone stating “Got something big 4 u bring 1500 more with that).

        In June 2015 agents intercepted more messages between Loyd’s and

Wilmer’s phones which the DEA agents again believe referenced a drug

transaction. On June 4, 2015 Loyd texted Wilmer’s phone:

              Don’t now what u on man cant keep doing business like this 4 real
              this bullshit my man can meet u n get that bread n we can b done with
              this. [Government Exhibit 1, Session 233].

              My mans down there he can come get that cash! [Government Exhibit
              1, Session 260]

On June 4, 2015 Wilmer’s phone texted Loyd the following message:

              Yo no disrespect I left my phone in my man’s car last night and I just
              got it back I couldn’t move with out it, my blow there in the am for
              sure I got you. [Government Exhibit 1, Session 263].



                                          2
Case 2:15-cr-20394-AJT-RSW ECF No. 110, PageID.408 Filed 03/22/16 Page 3 of 10




      Based on these messages, the DEA agents believed that a drug deal would

occur between Loyd and the user of Wilmer’s phone. Based on this belief, DEA

agents submitted an affidavit containing the facts about the May transaction to a

Magistrate Judge who granted a search warrant for the location of the user of

Wilmer’s phone. The Judge agreed there was probable cause to believe that this

person was engaged in drug trafficking and granted a warrant to locate the user of

Wilmer’s phone.

      On June 5, 2015, with the use of the location information, DEA agents were

able: to physically surveil Wilmer’s phone travel from Pennsylvania to Detroit; to

witness the phone’s user stay from 9:00am to around 11:00am at a house in

Detroit, which was identified as a “stash house” by the DEA; and then to see the

user of Wilmer’s phone leave the house and drive a car in the direction of returning

to Pennsylvania. Based on their observations of the user of Wilmer’s phone and the

text message evidence, DEA agents requested that Michigan State Police (MSP)

perform a traffic stop.

      At 11:30am MSP Trooper Benjamin Sonstrom executed the traffic stop of

Defendant that the DEA requested. Defendant informed Sonstrom that he did not

have a driver’s license and was subsequently handcuffed and placed in the front of

Sonstrom’s vehicle. Sonstrom asked Defendant for consent to search the vehicle

                                         3
Case 2:15-cr-20394-AJT-RSW ECF No. 110, PageID.409 Filed 03/22/16 Page 4 of 10




and Defendant gave his consent. Sonstrom used his drug detection dog, which

made a positive indication on the car. After searching the car, Sonstrom discovered

approximately 250 grams of cocaine in a sock underneath the seat.

      Following the search, Defendant was transported to the MSP post in Taylor,

Michigan. At this location, DEA agents provided Miranda warnings to which

Defendant agreed to, and subsequently spoke with agents about his drug trafficking

with Loyd.

      In his pending Motions to Suppress, Defendant asserts that he was never

provided his Miranda warnings and never consented to a search of his vehicle.

   2. MOTION TO SUPPRESS EVIDENCE [91]

      Defendant asserts that the evidence obtained from the traffic stop should be

suppressed because there was no reasonable suspicion to detain Defendant, the

search that resulted from the detention was not supported by probable cause and

further was not consented to be Defendant.

      “An ordinary traffic stop by a police officer is a ‘seizure’ within the meaning

of the Fourth Amendment.” United States v. Blair, 524 F.3d 740, 748 (6th Cir.

2008) (citing Delaware v. Prouse, 440 U.S. 648, 653 (1979). This seizure is

legitimate if the officer has “probable cause of a civil infraction or reasonable

suspicion of criminal activity.” United States v. Lyons, 687 F.3d 754, 763 (6th Cir.

                                           4
Case 2:15-cr-20394-AJT-RSW ECF No. 110, PageID.410 Filed 03/22/16 Page 5 of 10




2012) (citations omitted). To qualify as reasonable suspicion, an officer must have

more than a “mere hunch” regarding the likelihood of criminal activity and instead

requires the suspicion be based on “specific and articulable facts.” Id. When

considering if reasonable suspicion exists, Courts consider the “totality of the

circumstances” and consider “all of the information available to law enforcement

officials at the time.” Id. The collective knowledge of the investigating officers,

including “dispatch information, directions from other officers” and the cumulative

information possessed by the person who makes the stop are all considered

relevant to the analysis. Id.

      Under the collective knowledge doctrine, the information and knowledge of

the DEA agents who were surveilling the Defendant considering a drug

distribution investigation can be imputed onto the MSP trooper who made the

traffic stop. Id at 768-769 (citing United States v. Blair, 524 F.3d 740 (6th

Cir.2008). Trooper Sonstrom testified that he was conducting the stop based on the

probable cause determination made by the DEA agents. These agents had

reasonable suspicion that Defendant was engaged in criminal activity. As argued in

the Government’s brief, and as supported by testimony at the hearing, the DEA

agents had physical and electronic surveillance and specialized knowledge of drug

transactions that identified Defendant as a person who had traveled from

                                          5
Case 2:15-cr-20394-AJT-RSW ECF No. 110, PageID.411 Filed 03/22/16 Page 6 of 10




Pennsylvania to Detroit and was in possession of a phone that was being used to

communicate with a known large-scale drug trafficker about an illicit transaction.

The Defendant stayed for two hours at what DEA agents believed, through their

investigation, to be a drug and money stash house utilized by the Loyd drug

trafficking organization, and then left and began driving back in the direction of

Pennsylvania.

      The totality of this information constituted a reasonable suspicion that

Defendant was involved in a criminal activity. Additionally, since the phone

evidence previously had been used to obtain a warrant, it supported a further

probable cause finding that Defendant was engaged in criminal activity.

      Defendant contends that he did not consent to a search. Trooper Sonstrom

testified that he obtained consent from Defendant to search his car before

deploying his canine unit to effectuate the search. Per the testimony, Trooper

Sonstrom asked if there were narcotics or any other contraband in the vehicle.

Upon receiving a negative answer, Trooper Sonstrom requested Defendant’s

consent to search the vehicle, which, per the testimony of Trooper Sonstrom, he

agreed to.

      Additionally, even if the consent was not valid, the search was legal because

probable cause existed to search the car under the automobile exception. “[A]

                                          6
Case 2:15-cr-20394-AJT-RSW ECF No. 110, PageID.412 Filed 03/22/16 Page 7 of 10




search conducted without a warrant issued upon probable cause is per se

unreasonable,…subject only to a few specifically established and well-delineated

exceptions.” Schneckloth v. Bustamonte, 412 U.S. 218, 219 (1973). The

automobile exception is well-established support for warrantless searches of

automobiles. “Under the automobile exception to the warrant requirement, an

officer may perform a warrantless search of a detained vehicle should the officer

have probable cause to believe the vehicle contains contraband or evidence of

criminal activity. Lyons 687 F.3d at 770 (2012). “Probable cause is a reasonable

ground for belief supported by less than prima facie proof but more than mere

suspicion. United States v. Blair, 524 F.3d 740, 748 (6th Cir. 2008).

      As discussed above, there was substantial evidence establishing reasonable

grounds for belief that the car contained evidence of criminal activity. For

example, it was known that Wilmer’s phone was located in the car, because DEA

agents were using its location data to track the car itself. As shown above, this

phone contained evidence of drug transactions in an on-going investigation of the

DEA, and thus obviously is evidence of criminal activity. Additionally, since the

Defendant had just been at a location suspected of being a “stash house,” and the

phone in the car was linked to messages regarding drug transactions, there were

grounds for a reasonable belief that contraband would be found in the car. Thus the

                                          7
Case 2:15-cr-20394-AJT-RSW ECF No. 110, PageID.413 Filed 03/22/16 Page 8 of 10




evidence was seized legally and Defendant’s Motion to Suppress Evidence [91] is

DENIED.

   3. MOTION TO SUPPRESS STATEMENTS [92]

      Defendant states in his Motion to Suppress Statements that he was never

advised of his Miranda rights and that he did not voluntarily and knowingly waive

those rights during his interview at the MSP Post located at 12111 Telegraph Road,

Taylor, Michigan. Therefore his statements made in that interview should be

suppressed. In support, Defendant presents a memo from the U.S. Department of

Justice dated May 12, 2014 which establishes a “presumption” that, inter alia, the

DEA would “electronically record statements made by individuals in their

custody.” [92, Exhibit A].

      Under Miranda v. Arizona, a person held in custody can be interrogated only

after they have been informed of their rights, and subsequently knowingly waives

them. 384 U.S. 436, 444 (1966). “Statements made in response to custodial police

interrogation must be suppressed unless the suspect first waived his Miranda rights

‘voluntarily, knowingly and intelligently.’” United States v. Lawrence, 735 F.3d

385, 436 (6th Cir. 2013). When determining whether the Defendant waived their

Miranda rights, the Court looks to the totality of the circumstances. Moran v.

Burbine, 475 U.S. 412, 421 (1986).

                                         8
Case 2:15-cr-20394-AJT-RSW ECF No. 110, PageID.414 Filed 03/22/16 Page 9 of 10




      In this case, the Government elicited testimony from Special Agent Michelin

that he verbally read Defendant his Miranda rights at the outset of their interaction

at the MSP post. At the hearing, Special Agent Michelin explained that his partner,

Special Agent Craig Kropp, handed Special Agent Michelin his Miranda warning

card, which he then read from before the interview began. Michelin also stated that

Defendant verbally agreed to speak with the Special Agents following the reading

of the warnings. There is no evidence of coercion or intimidation or that Defendant

was unable to understand the warnings, since his first language is English.

Additionally, Special Agent Michelin explained that there was no Miranda form

signed by Defendant because, at that time, they were presenting themselves as

MSP officers, rather than Special Agents of the DEA, to avoid revealing that there

was an ongoing federal investigation. Because the DEA Miranda form would

identify the officers as DEA agents, one was not presented to Defendant to sign.

The testimony of Special Agent Michelin is supported by the testimony of Special

Agent Kropp, who was also present at the interview.

      While it is true that there no video recording of the interview made as

encouraged by the policy, this is not evidence that Miranda warnings were not

given. The policy itself lists several exemptions to the presumption that interviews

will be recorded, including refusal by the interviewee, or when recording is not

                                          9
Case 2:15-cr-20394-AJT-RSW ECF No. 110, PageID.415 Filed 03/22/16 Page 10 of 10




 reasonably practicable. While Special Agent Kropp could not provide good reasons

 for why they did not inquire about the availability of video equipment at MSP post

 so they could tape the interview, he testified that the interview room did not have

 such equipment. He also testified that he could not recall having been present at

 any interviews, which were in fact recorded. Considering the past history with

 video-taping interviews, the lack of apparent equipment at the MSP post, and the

 fact that the policy is not a strict requirement but rather a presumption, the fact that

 the interview was not videotaped does not tilt the totality of the circumstances in

 favor of the Defendant, nor negate the consistent testimony given by the Special

 Agents present at the interview.

       Because there is no creditable evidence to support a claim that Defendant

 did not knowingly, voluntarily, and intelligently waive his Miranda rights,

 Defendant’s Motion to Suppress Statements [92] is DENIED.

       SO ORDERED.




                                         s/Arthur J. Tarnow
                                         Arthur J. Tarnow
 Dated: March 22, 2016                   Senior United States District Judge




                                            10
